    Case 3:17-cr-00070-SHL-SBJ             Document 932         Filed 11/04/24      Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,                          )   Criminal No. 3:17-cr-70
                                                   )
               v.                                  )   APPEARANCE
                                                   )
BAO QUOC HUYNH,                                    )
                                                   )
               Defendant.                          )

       COMES NOW, Assistant United States Attorney, William R. Ripley, and

hereby enters his appearance as lead counsel for the United States of America in

the above-entitled case.

       Further, it is requested that all other counsel for the United States, be

removed from the court docket.

                                                       Respectfully submitted,

                                                       Richard D. Westphal
                                                       United States Attorney

                                                   By: /s/ William Ripley
                                                      William R. Ripley
                                                      Assistant United States Attorney
                                                      U.S. Courthouse
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CERTIFICATE OF SERVICE

I hereby certify that on November 4, 2024, I electronically filed the foregoing with the Clerk of Court
using the CM ECF system. I hereby certify that a copy of this document was served on the parties or
attorneys of record by:
     U.S. Mail         Fax      Hand Delivery       X ECF/Electronic filing         Other means

UNITED STATES ATTORNEY

By: /s/ Alexandria Ogden
    Alexandria M. Ogden, Legal Assistant
